     Case 3:13-cr-00491-GPC        Document 547        Filed 12/14/16      PageID.1832       Page 1 of 9



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 8                                UNITED STATES DISTRICT COURT
 9                              SOUTHERN DISTRICT OF CALIFORNIA
10
11     SHANNON WHITE,                                         Civil No.: 3:15-CV-02202-GPC
                                            Petitioner,       Criminal No.: 3:13-CR-0491-GPC-4
12
13                                                            ORDER DENYING PETITIONER’S
       v.                                                     MOTION TO VACATE, SET ASIDE,
14
                                                              OR CORRECT SENTENCE UNDER
15     UNITED STATES OF AMERICA,                              28 U.S.C. § 2255
16                                       Respondent.          [ECF No. 523.]
17
18           On October 2, 2015, Petitioner Shannon White (“Petitioner”), a federal inmate
19    proceeding pro se, filed a motion to vacate, set aside, or correct his conviction and
20    sentence pursuant to 28 U.S.C. § 2255. (Dkt. No. 523.)1 On May 26, 2016, the
21    government filed an opposition (Dkt. No. 537), and Petitioner filed a reply on August 1,
22    2016 (Dkt. No. 543). For the reasons given below, the Court DENIES Petitioner’s
23    motion to vacate, set aside, or correct his conviction and sentence.
24                                              BACKGROUND
25           On February 8, 2013, the government filed a four-count indictment charging
26
27
      1
       All docket citations refer to the docket numbers as filed in Petitioner’s criminal case, 3:13-CR-0491-
28    GPC-4. All page numbers cited refer to the pagination created by the CM/ECF system.
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                                                                                             3:15-CV-02202-GPC
     Case 3:13-cr-00491-GPC     Document 547     Filed 12/14/16   PageID.1833     Page 2 of 9



 1    Petitioner and his co-conspirators with conspiracy to distribute methamphetamine,
 2    distribution of methamphetamine, and possession of methamphetamine. (Dkt. No. 1.)
 3    On March 25, 2014, the government filed a superseding information charging Petitioner
 4    with conspiracy to distribute five grams and more of methamphetamine. (Dkt. No. 358.)
 5    Petitioner pled guilty to the superseding information. (Dkt. No. 360.) Petitioner accepted
 6    the Plea Agreement, waiving his rights to subsequently request modification of his
 7    sentence under 18 U.S.C. § 3582, in exchange for the government recommending an
 8    additional 2-level downward variance. (Dkt. No. 362 at 3–4.) On April 10, 2014 the
 9    Court accepted Petitioner’s guilty plea. (Dkt. No. 371.)
10          On July 11, 2014, Petitioner appeared before the Court for sentencing on his
11    conviction on the superseding information. (Dkt. No. 534 at 2–3.) During the sentencing
12    hearing, the Court found that Petitioner qualified as a Career Offender under §4B1.1 of
13    the U.S.S.G., because the Petitioner had two qualifying predicate felonies. (Id. at 19–22.)
14    The Court identified two specific convictions as predicate felonies qualifying Petitioner
15    as a Career Offender. First, on May 26, 1994, Petitioner pled guilty to possession for sale
16    or purchase for the purpose of sale of cocaine base in violation of Cal. Health & Safety
17    Code § 11351.5 in the California Superior Court, County of San Diego. (Dkt. No. 384 at
18    8.) Petitioner received a one-year custodial term and three years of probation for this
19    conviction. (Id.) On February 14, 1996, during the pendency of his probation, Petitioner
20    committed an additional crime which resulted in the revocation of his probation. (Id.)
21    Petitioner then received eight years in prison, served five years, three months, and eight
22    days of that sentence, and was paroled on May 21, 2001, within fifteen years of the
23    instant offense. (Id.)
24          The Court identified Petitioner’s conviction in this District for committing
25    violations of 21 U.S.C. § 841(a)(1), Distribution of Marijuana, as the second predicate
26    felony qualifying Petitioner as a Career Offender. (Dkt. No. 384 at 11 (citing 3:09-cr-
27    03397-JM-1).) Petitioner pled guilty to three counts on December 10, 2009 and was
28    sentenced to a 33-month custodial sentence on February 26, 2010. (Id.) The Court found
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                                                                                  3:15-CV-02202-GPC
     Case 3:13-cr-00491-GPC      Document 547      Filed 12/14/16    PageID.1834     Page 3 of 9



 1    that these two prior convictions qualified Petitioner as a Career Offender, thus
 2    automatically placing Petitioner within Criminal History Category VI. (Dkt. No. 534 at
 3    20.)
 4           In addition, at the sentencing hearing, Petitioner knowingly and voluntarily waived
 5    his rights to subsequently request modification of his sentence under 18 U.S.C. § 3582, in
 6    exchange for the government recommending an additional 2-level downward variance.
 7    (Id. at 3–4.) The Court granted the 2-level downward variance. (Id. at 5.)
 8           On October 2, 2015, Petitioner filed the present motion to vacate his sentence
 9    under 28 U.S.C. § 2255 for ineffective assistance of counsel on three grounds: (1)
10    counsel’s failure to file a notice of appeal at Petitioner’s request; (2) counsel’s failure to
11    challenge Petitioner’s Career Offender status; (3) and counsel’s failure to challenge the
12    probation officer’s use of the 2013 sentencing guidelines. (Dkt. No. 523 at 14.)
13    Petitioner additionally challenges his Career Offender status in light of the Supreme
14    Court’s holding in Johnson v. United States, 135 S. Ct. 2551 (2015). (Id.)
15                                      LEGAL STANDARDS
16    I.     28 U.S.C. § 2255
17           Section 2255 provides that a federal prisoner seeking relief from a custodial
18    sentence “may move the court which imposed the sentence to vacate, set aside or correct
19    the sentence” on “the ground that the sentence was imposed in violation of the
20    Constitution or laws of the United States, or that the court was without jurisdiction to
21    impose such sentence, or that the sentence was in excess of the maximum authorized by
22    law, or is otherwise subject to collateral attack[.]” 28 U.S.C. § 2255(a). To warrant
23    relief under § 2255, a prisoner must allege a constitutional, jurisdictional, or otherwise
24    “fundamental defect which inherently results in a complete miscarriage of justice [or] an
25    omission inconsistent with the rudimentary demands of fair procedure.” United States v.
26    Timmreck, 441 U.S. 780, 783–84 (1979) (internal citation and quotation marks omitted).
27    “Errors of law which might require reversal of a conviction or sentence on appeal do not
28    necessarily provide a basis for relief under § 2255.” United States v. Wilcox, 640 F.2d
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                                                                                     3:15-CV-02202-GPC
     Case 3:13-cr-00491-GPC       Document 547   Filed 12/14/16    PageID.1835     Page 4 of 9



 1    970, 973 (9th Cir. 1981).
 2    II.   Ineffective Assistance of Counsel
 3          The Sixth Amendment guarantees criminal defendants the constitutional right to be
 4    represented by counsel at all critical stages of the prosecution. Turner v. Calderon, 281
 5    F.3d 851, 879 (9th Cir. 2002). To prevail on a claim that his trial counsel rendered
 6    ineffective assistance, a petitioner must demonstrate that: (1) the counsel’s performance
 7    was deficient; and (2) the deficient performance prejudiced the petitioner’s defense.
 8    Strickland v. Washington, 466 U.S. 668, 688–93 (1984). Under the performance prong of
 9    the Strickland test, the Court does not focus on whether counsel’s advice was right or
10    wrong, but whether that advice was within the range of competence demanded of
11    attorneys in criminal cases. Turner, 281 F.3d at 881(quoting McMann v. Richardson, 397
12    U.S. 759, 771 (1970)). There is a “strong presumption that counsel’s conduct falls within
13    the wide range of professional assistance.” Strickland, 466 U.S. at 689. Under the
14    prejudice prong, a petitioner must “show that there is a reasonable probability that, but
15    for counsel’s unprofessional errors, the result of the proceeding would have been
16    different. A reasonable probability is a probability sufficient to undermine confidence in
17    the outcome.” Id. at 694.
18          A petitioner must establish both deficient performance and prejudice in order to
19    establish ineffective assistance of counsel. Id. at 687; United States v. Olson, 925 F.2d
20    1170, 1173 (9th Cir. 1991). “Because failure to meet either prong is fatal to [a
21    defendant’s] claim, there is no requirement that [courts] address both components of the
22    inquiry if the defendant makes an insufficient showing on one.” Gonzalez v. Wong, 667
23    F.3d 965, 987 (9th Cir. 2011) (internal quotation marks omitted). The Supreme Court has
24    recognized that “[s]urmounting Strickland’s high bar is never an easy task.” Padilla v.
25    Kentucky, 559 U.S. 356, 371 (2010).
26                                          DISCUSSION
27          I.     Failure to File Notice of Appeal
28          Petitioner argues that his counsel was ineffective for failing to file an appeal
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                                                                                   3:15-CV-02202-GPC
     Case 3:13-cr-00491-GPC      Document 547       Filed 12/14/16    PageID.1836      Page 5 of 9



 1    pursuant to Petitioner’s request. (Dkt. No. 523 at 23–24.) Respondent argues that there
 2    is no evidence to support Petitioner’s allegation because Petitioner explicitly waived his
 3    right to appeal. (Dkt. No. 537 at 6–9.)
 4           Plea agreements are contracts that must be reviewed under contract law standards.
 5    United States v. Keller, 902 F.2d 1391, 1393 (9th Cir. 1990). A court should uphold a
 6    plea agreement unless the criminal defendant that pleaded guilty could not reasonably
 7    have understood the terms of the agreement. United States v. De la Fuente, 8 F.3d 1333,
 8    1337–38 (9th Cir. 1993) (internal citations omitted). Waivers that are made voluntarily
 9    and knowingly by a criminal defendant are enforceable and do not violate the
10    constitution. United States v. Navarro-Botello, 912 F.2d 318, 319 (9th Cir. 1990).
11    Courts should construe any ambiguities in plea agreements in favor of the defendants. Id.
12           Petitioner signed a Plea Agreement with Respondent agreeing that he would waive
13    his right to appeal or collaterally attack the sentence or conviction under 18 U.S.C. §
14    3582 in exchange for the Government recommending an additional 2-level downward
15    variance. (Dkt. No. 362 at 3–4.) Petitioner’s initials appear at the bottom right-hand
16    corner of each page of the agreement (id. at 1–13), and Petitioner’s signature and the
17    signature of his attorney appear on the last page of the agreement (id. at 13). The Plea
18    Agreement states in relevant part:
19           In exchange for the Government’s concessions in this plea agreement,
             [Petitioner] waives, to the full extent of the law, any right to appeal or to
20
             collaterally attack the conviction . . . . The [Petitioner] also waives, to the full
21           extent of the law, any right to appeal or collaterally attack his sentence . . . . If
             [Petitioner] believes the Government’s recommendation is not in accord with
22
             this plea agreement, [Petitioner] will object at the time of sentencing;
23           otherwise the objection will be deemed waived.
24
      (Id. at 9.)
25
             It is clear in the Plea Agreement that Petitioner agreed to waive his ability to
26
      appeal and collaterally attack the conviction or sentence. In addition, the Court
27
      conducted an inquiry with Petitioner to ensure that Petitioner knowingly and voluntarily
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                                                      5

                                                                                       3:15-CV-02202-GPC
     Case 3:13-cr-00491-GPC     Document 547     Filed 12/14/16   PageID.1837     Page 6 of 9



 1    agreed to waive his right to subsequently request modification of his sentence under 18
 2    U.S.C. § 3582. (Id. at 4–5.) A criminal defendant may lawfully waive his right to
 3    collaterally attack his sentence, and such waivers are enforceable subject only to a narrow
 4    range of exceptions. Garcia-Santos v. United States, 273 F3.d 506 (2d Cir. 2001).
 5          The Section 2255 habeas inquiry is therefore typically restricted to whether the
 6    guilty plea was voluntary and intelligent and counseled. United States v. Abarca, 985
 7    F.2d 1012 (9th Cir. 1993). The law allows, in material part, that a defendant who has
 8    pleaded guilty may file a Section 2255 motion to raise a claim that his plea was (a) not
 9    voluntary and intelligent or (b) was based on ineffective assistance of counsel.
10    United States v. Broce, 488 U.S. 563, 569 (1989) (stating that a voluntary and intelligent
11    plea of guilty made by an accused person, who has been advised by competent counsel,
12    may not be collaterally attacked). Petitioner makes no such claims in his petition; he
13    maintains that defense counsel was ineffective by not filing an appeal as directed.
14          Here, the record demonstrates that Petitioner knowingly and voluntarily entered
15    into a plea agreement waiving his right to appeal. Thus, defense counsel’s failure to file
16    an appeal at Petitioner’s request cannot be considered ineffective assistance of counsel
17    where it would have violated the plea agreement.
18          II.    Petitioner’s Career Offender Status
19          Petitioner argues that defense counsel was ineffective by failing to challenge the
20    use of Petitioner’s 1994 state conviction for battery with serious bodily injury and 2007
21    misdemeanor conviction for disobeying a court order (gang injunction) for Career
22    Offender enhancement. (Dkt. No. 523 at 19.) Petitioner argues that the “erroneous
23    Career Offender designation and criminal history item had a significant impact on [his]
24    sentence: it increased his offense level from 29 to 31, and it increased the low-end of his
25    guideline range from 120 months to 188 months.” (Id. at 27.) Petitioner further argues
26    that the Supreme Court’s holding in Johnson v. United States, 135 S. Ct. 2551 (2015),
27    that the residual clause in the Armed Career Criminal Act is unconstitutionally vague
28    applies to his case. (Id. at 25–27.) Respondent argues that defense counsel’s
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                                                                                  3:15-CV-02202-GPC
     Case 3:13-cr-00491-GPC     Document 547      Filed 12/14/16   PageID.1838     Page 7 of 9



 1    performance was not deficient, that Petitioner’s Career Offender status is valid and was
 2    calculated correctly by the Court, and that even if Petitioner were correct, the record
 3    demonstrates that the alleged error was harmless. (Dkt. No. 537 at 10–12.)
 4          First, there is no indication in the record that the Court based its sentencing
 5    determination on the 1994 state conviction for battery with serious bodily injury or
 6    disobeying a gang instruction. See Gelfuso v. Bell, 590 F.2d 754, 756 (9th Cir. 1978)
 7    (affirming dismissal of § 2255 petition where there was “no affirmative demonstration in
 8    the record . . . that the district judge based his sentence on improper information”).
 9    Second, the Career Offender enhancement was based upon a 1994 state controlled
10    substances conviction and a 2009 federal controlled substances conviction, both of which
11    are proper predicates for Career Offender status and are unaffected by the Supreme
12    Court’s holding in Johnson. See U.S.S.G. § 4B1.1(a).
13          Moreover, the Court properly considered the 1994 state controlled substances
14    conviction because Petitioner violated his probation and was sentenced to a term of
15    imprisonment that resulted in the Petitioner being incarcerated within fifteen years of
16    Defendant’s instant offense. See U.S.S.G. § 4A1.2(e). Accordingly, even without
17    considering the 1994 state battery conviction, Petitioner qualified as a Career Offender
18    for sentencing purposes based upon Petitioner’s two prior federal controlled substances
19    convictions. The Court correctly calculated Petitioner’s Career Offender status.
20          Finally, Petitioner’s argument that defense counsel was ineffective for failing to
21    object to the use of his 2007 misdemeanor conviction for disobeying a court order (gang
22    injunction) fails. In fact, his counsel timely filed objections to the presentence report and
23    additional documents in support of Petitioner, including a mental health evaluation
24    report, letters submitted on Petitioner’s behalf, and certificates. (Dkt. Nos. 396, 398, 406,
25    411, 414.) In addition, given that the Petitioner was a Career Offender, his criminal
26    history category was automatically a VI, with or without the misdemeanor conviction.
27          In sum, the Court rejects Petitioner’s claim that defense counsel was ineffective on
28    the foregoing grounds and rejects Petitioner’s claim that the Court incorrectly calculated
                                                    7

                                                                                   3:15-CV-02202-GPC
     Case 3:13-cr-00491-GPC     Document 547      Filed 12/14/16   PageID.1839     Page 8 of 9



 1    his sentence in light of Johnson.
 2          III.   Failure to Challenge the United States Probation Office’s Use of the
                   2013 Sentencing Guidelines
 3
 4          Petitioner argues that defense counsel was ineffective by failing to object to the
 5    probation officer’s use of the 2013 Sentencing Guidelines. (Dkt. No. 523.) Petitioner
 6    argues that he should have been sentenced under the modified 2014 Guidelines’ drug
 7    tables, which would have given him a reduced sentence. (Id. at 22–23.) Respondent
 8    argues that Petitioner was not prejudiced by the probation officer’s use of the 2013
 9    edition of the Sentencing Guidelines. (Dkt. No. 537 at 12.)
10          The Court agrees with Respondent for two reasons. First, the 2013 edition was in
11    effect at the time of his sentencing on July 11, 2014, as the modifications to the
12    guidelines were not effective until November 1, 2014. (Dkt. No. 534 at 4.) Second,
13    Petitioner knowingly and voluntarily waived his right to seek a subsequent modification
14    in his sentence under 18 U.S.C. § 3582 in exchange for the government’s
15    recommendation of a 2-level downward variance, which the Court granted. (Id. at 4–5.)
16    The basis for this agreement was that Petitioner’s offense level would be adjusted to
17    equate the offense levels under the pending November 1, 2014 guidelines. (Id.)
18    Accordingly, the Court rejects Petitioner’s claim that defense counsel was ineffective by
19    failing to object to the probation officer’s use of the 2013 Sentencing Guidelines.
20          IV.    Evidentiary Hearing
21          “Unless the motion and the files and records of the case conclusively show that the
22    prisoner is entitled to no relief,” the Court must hold an evidentiary hearing on the merits
23    of a § 2255 motion. 28 U.S.C. § 2255(b). The Ninth Circuit has explained the “standard
24    essentially is whether the movant has made specific factual allegations that, if true, state a
25    claim on which relief could be granted.” United States v. Schaflander, 743 F.2d 714, 717
26    (9th Cir. 1984) (per curiam). Therefore, an evidentiary hearing is unnecessary if the
27    allegations, “when viewed against the record, do not state a claim for relief or are so
28    palpably incredible or patently frivolous as to warrant summary dismissal.” United
                                                    8

                                                                                    3:15-CV-02202-GPC
     Case 3:13-cr-00491-GPC     Document 547      Filed 12/14/16    PageID.1840     Page 9 of 9



 1    States v. Leonti, 326 F.3d 1111, 1116 (9th Cir. 2003) (internal quotation marks omitted).
 2          Petitioner fails to allege that he suffered from a constitutional, jurisdictional, or
 3    otherwise fundamental defect. Petitioner’s allegations do not state a claim for relief.
 4    Accordingly, the Court finds that Petitioner’s claims do not merit an evidentiary hearing.
 5          V.     CERTIFICATE OF APPEALABILITY
 6          Under AEDPA, a prisoner seeking to appeal a district court’s denial of a habeas
 7    petition must obtain a certificate of appealability. 28 U.S.C. § 2253(c)(1)(A). The
 8    district court may issue a certificate of appealability “only if the applicant has made a
 9    substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). To
10    satisfy this standard, a petitioner must show that “reasonable jurists would find the
11    district court’s assessment of the constitutional claims debatable or wrong.” Slack v.
12    McDaniel, 529 U.S. 473, 484 (2000). In this case, Petitioner has not made a substantial
13    showing of the denial of a constitutional right. Accordingly, the Court sua sponte
14    DENIES Petitioner a certificate of appealability.
15                                          CONCLUSION
16          For the foregoing reasons, the Court DENIES Petitioner’s motion to vacate, set
17    aside, or correct his conviction and sentence pursuant to 28 U.S.C. § 2255.
18          IT IS SO ORDERED.
19    Dated: December 14, 2016
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